Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 1 of 24

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

CASE NO.
TERRY CARRAWAY, as Personal

Representative for the Estate of his
deceased son, KENTRILL CARRAWAY,

Plaintiffs,
VS.

JUAN J. PEREZ, in his official capacity as
Chief of Police of Miami Dade County, Florida,
GEORGE EUGENE; and

MIAMI DADE COUNTY, Florida,

a political subdivision of the State of Florida,

Defendants.
/

 

COMPLAINT FOR WRONGFUL DEATH AND VIOLATION OF CIVIL RIGHTS

COMES NOW the Plaintiff, TERRY CARRAWAY, as Personal Representative for the
Estate of his deceased son, KENTRILL CARRAWAY, and hereby sues the Defendants, JUAN J.
PEREZ (hereinafter “PEREZ”), in his official capacity as Chief of Police of Miami Dade County,
Florida, GEORGE EUGENE (hereinafter “EUGENE”), in his individual capacity, and MIAMI
DADE COUNTY, FLORIDA (hereinafter “MIAMI DADE”), a political subdivision of the State
of Florida, and in support thereof allege as follows:

PRELIMINARY STATEMENT

l. This is a civil rights action in which the Plaintiff seeks relief from the Court for
the wrongful death of KENTRILL CARRAWAY and for the Defendants’ violation of
KENTRILL CARRAWAY’s civil rights secured by the Civil Rights Act of 1871, 42 USC §

1983, the Constitution of the United States, including its Fourth and Fourteenth Amendments,
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 2 of 24

and by the laws of the State of Florida and common law.

2. On or about May 19, 2016, KENTRILL CARRAWAY, was shot and killed by the
Defendant, EUGENE, in Miami Dade County, Florida, without legal cause or excuse, while
Defendants were in the process of unreasonably seizing the decedent and while unreasonably
violating his rights under the Fourth Amendment to the United States Constitution.

JURISDICTION AND VENUE

3. This is an action for monetary damages in excess of $75,000.00 exclusive of
interest, attorneys’ fees and costs.

4, This Court has original jurisdiction pursuant to 28 USC § 1343 and 28 USC §
1331 over Plaintiff's § 1983 claim.

5, This Court has supplemental jurisdiction over Plaintiffs state claims under 28
USC § 1367 because these claims are so related to Plaintiff's §1983 claims that they form part of
the same case or controversy.

6. Venue is appropriate in this Court pursuant to 28 USC § 1391(b) because the
events giving rise to the claims asserted herein occurred in the district of Miami Dade County,
Florida.

Ts That the Plaintiff has complied with all provisions of Florida Statutes §768.28, and
specifically Florida Statutes §768.28(6) relating to presenting a claim in writing and notice of the
action. The appropriate governmental agencies have denied the claim presented by the Plaintiff or,
and failed, in the alternative, to respond within six (6) months after it was filed. Pursuant to the
above statute, the claim has been either affirmatively denied or deemed denied. A copy of the notice

letters are attached hereto as Composite Exhibit “A”.
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 3 of 24

8. All conditions precedent to the filing of this action have either been performed or
waived.

PARTIES

9, At all times material hereto, KENTRILL CARAWAY, was an adult residing in
Miami Dade County, Florida, a citizen of the State of Florida, and a citizen of the United States
of America.

10. TERRY CARRAWAY, is the natural father of the decedent, KENTRILL
CARRAWAY. He is the Personal Representative of Carraway’s Estate (a copy of the Order
Appointing Personal Representative is attached hereto as Exhibit “B”). The potential
beneficiaries of the Estate of KENTRILL CARRAWAY in this action, and the relationship of

each to the decedent are as follows:

i. Makilah Carr, a minor, and one of the decedent’s children;
il. Jayden Curry, a minor, and one of the decedent’s children;
ill. Aaliyah Curry, a minor, and one of the decedent’s children.

11, At all times material hereto, the Defendant, MIAMI DADE was an entity
authorized and created under the laws of the State of Florida. The Defendant, MIAMI DADE
assumes the risk incidental to the maintenance of a police force and the employment of law
enforcement and police officers.

12, At all times material hereto, Defendant PEREZ, was the Chief of Police of Miami
Dade County, Florida, and the public employer of the Defendant EUGENE.

13. At all times material, Defendant, EUGENE, was a Miami Dade Police
Department police officer, acting within the course and scope of his employment with MIAMI

DADE and the Miami Dade Police, and under color of state and federal law. Officer EUGENE
3
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 4 of 24

is being sued in his individual and official capacities.

14. Defendant, EUGENE, was at all time relevant herein duly appointed and acting
officer, servant, employee and agent of the Miami Dade County Police Department, an agency of
the Defendant MIAMI DADE.

15.  Atall times relevant herein, the individual Defendants were acting under color of
the laws, statutes, ordinances, regulations, policies, customs and/or usages of the State of Florida
and Miami Dade County, Florida; were acting in the course and scope of their duties and
functions as officers, agents, servants, and employees of the Defendant, MIAMI DADE; were
acting for, and on behalf of, and with the power and authority vested in them by the MIAMI
DADE, Florida; and were otherwise performing and engaging in conduct incidental to the
performance of their lawful functions in the course of their duties.

16. Due to the conducts, acts, and omissions complained of herein, Defendants
violated clearly established constitutional standards under the Fourth and Fourteenth
Amendments of the United States Constitution.

FACTS APPLICABLE TO ALL COUNTS

17. Upon information and belief, on or about May 19, 2016, KENTRILL
CARRAWAY was with friends in the backyard of a property located at NW 78" Street and 21"
Avenue in Miami Dade County, Florida.

18. At approximately 4:00 p.m. a Miami Dade Police car charged up a vacant lot
toward the backyard where these young black men were congregating. With guns drawn, the
Miami Dade Police, including Defendant EUGENE, began to yell commands at the young black

men, ordering them to halt and put their arms up.

4
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 5 of 24

19. KENTRILL CARRAWAY began to run from the officers. After running approximately
15 yards, two additional officers, who charged at the young black men from a different direction opened
fire, and Defendant EUGENE shot CARRAWAY in the back twice, killing him.

20. The force used by the Miami Dade Police officers, was illegal and excessive. At the
time of the shooting there was no emergency present, there was no probable cause to make an arrest and
KENTRILL CARRAWAY did not pose a threat of death of serious physical harm to the police officers
or others.

21. Upon information and belief, KENTRILL CARRAWAY was pronounced dead at the
scene. Multiple gunshot shots fired by Defendant EUGENE caused his death.

COUNT I - VIOLATION OF 42 U.S.C. § 1983 AGAINST DEFENDANT PEREZ

22. Plaintiff re-alleges paragraphs 1 through 20 as if fully set forth herein.

23. This is an action for damages against PEREZ, in his official capacity as the Chief of
Police of Miami Dade, for the deprivation of CARRAWAY’s Fourth and Fourteen Amendments rights
in violation of 42 USC § 1983.

24, At all times material hereto, the employees, agents and/or officers of PEREZ, including
EUGENE, the officer named as a defendant herein, were acting under the color of state law and pursuant
to the policy, custom and/or usage of Miami Dade County’s Police.

25. The Fourth Amendment prohibits unreasonable seizure of people, whereby a person has
been seized within the meaning of the Fourth Amendment if, in view of all the circumstances
surrounding the incident, a reasonable person would have believed that he or she was not free to leave.
Also, the Fourteenth Amendment of the United States Constitution provides protection to citizens from
depravation of life, liberty, or property, without due process of law.

26. The shooting and subsequent killing of a suspect is a seizure under the Fourth
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 6 of 24

Amendment, and a deprivation of life under the Fourteenth Amendment.

27. Defendant EUGENE seized the decedent, KENTRILL CARRAWAY, when he fired and
hit the decedent twice in his back.

28. At the time of the seizure, Defendant EUGENE did not have a reasonable belief that the
decedent had committed a crime.

29. At the time of the seizure, KENTRILL CARRAWAY, did not pose a lethal threat to the

Miami Dade Police officers.

30. At the time the Defendant, EUGENE seized CARRAWAY, the Defendants EUGENE
and PEREZ did not have a warrant to arrest CARRAWAY.

31. The Defendants’ arrest and seizure of CARRAWAY was illegal and unconstitutional, and
any force used in an illegal seizure is excessive and is part of the claim for illegal seizure. See Jackson

v. Sauls, 206 F.3d 1156, 1171 (11th Cir. 2000).

32. All of the force used against CARRAWAY was illegal and excessive, and deprived
CARRAWAY, a United States citizen, of his life without due process of law in violation of the
Fourteenth Amendment of the United States Constitution.

33. The Miami Dade Police, and PEREZ through policies, customs or usages, also hired
officers who were substandard and who were not properly trained and disciplined, including EUGENE,
who lacked sufficient training on the proper use of firearms, communications skills, defective tactics
skills, and decision making skills.

34. | PEREZ and other agents, servants, and/or employees of the Police of Miami Dade County
ratified the misconduct of EUGENE against CARRAWAY including the use of excessive force by
failing to discipline EUGENE, failing to conduct a thorough shooting investigation, white washing the

shooting, and covering up EUGENE’s misconduct.
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 7 of 24

35. The failure of Miami Dade Police’s Chief PEREZ to: properly supervise officers;
properly discipline officers; properly train officers; properly hire and retain officers; and prevent the use
of excessive force, constitutes deliberate indifference, willful conduct, and knowing conduct towards the
public in general and specifically CARRAWAY.

36. The employees, agents and officers of the Defendant, PEREZ, including EUGENE,
through their above-described actions, deprived CARRAWAY of his rights, privileges and immunities
secured by the Fourth Amendment of the Constitution of the United States, including the right to be
secure in his persons against unreasonable seizures including the use of excessive force.

37. Asa direct and proximate foreseeable result of the Fourth Amendment violations and
misconduct of the employees, agents and officers of the Miami Dade Police, as set forth herein,
CARRAWAY suffered injuries that caused his death.

38. The employees, agents and officers of the Miami Dade Police’s Chief, PEREZ, through
the actions above, deprived CARRAWAY of his rights, privileges, and immunities secured by the
Fourteenth Amendment of the US Constitution, including the right to liberty, the right to substantive and
procedural due process, the right to be free from unlawful seizure, and those fundamental rights of due
process, liberty and life as guaranteed by the Constitution.

39. Asa direct and proximate foreseeable result of the Fourteen Amendment violations and
misconduct of the employees, agents and officers of the Miami Dade Police, as set forth herein,
CARRAWAY suffered injuries that caused his death.

40. As a direct and proximate foreseeable result of the abovementioned violations of
CARRAWAY’s constitutional rights in accordance with the policy, custom or usage of the Miami Dade
Police and its Chief, CARRAWAY suffered physical injury, pain, suffering and death and the Plaintiff

have in the past and will in the future suffer the following damages:
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 8 of 24

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, Plaintiff TERRY CARRAWAY, as Personal Representative of the Estate of
KENTRILL CARRAWAY, deceased, for the benefit of his Estate and his statutory survivors, demands
the following against PEREZ, in his official capacity as the Chief of the Miami Dade Police, for the

constitutional violations, civil rights violations, and acts and omissions as set forth herein:

(a) Judgment for compensatory damages;
(b) Punitive damages;

(c) Judgment for attorney’s fees pursuant to 42 U.S.C. § 1988, together with the costs and
expenses of this civil action;

(d) A trial by jury on all issues so triable; and

(e) Such other and further relief that this court may deem just, proper and appropriate.
COUNT II - VIOLATION OF 42 U.S.C. § 1983 AGAINST DEFENDANT EUGENE

41. Plaintiff re-alleges paragraphs 1 through 20 as if fully set forth herein.

42. This is an action for damages against EUGENE for the deprivation of CARRAWAY’s
Fourth and Fourteenth Amendment rights in violation of 42 USC § 1983.

43, At all times material hereto, EUGENE was acting under the color of state law and
pursuant to the policy, custom and/or usage of the Miami Dade Police.

44, | The Fourth Amendment prohibits unreasonable seizure of people, whereby a person has
been seized within the meaning of the Fourth Amendment if, in view of all the circumstances

surrounding the incident, a reasonable person would have believed that he or she was not free to leave.
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 9 of 24

Also, the Fourteenth Amendment of the United States Constitution provides protection to citizens from
depravation of life, liberty, or property, without due process of law.

45. The shooting and subsequent killing of a suspect is a seizure under the Fourth
Amendment, and a deprivation of life under the Fourteenth Amendment.

46. Defendant EUGENE seized the decedent, KENTRILL CARRAWAY, when he fired and
hit the decedent twice in his back.

47, At the time of the seizure, Defendant EUGENE did not have a reasonable belief that the
decedent had committed a crime.

48. At the time of the seizure, KENTRILL CARRAWAY, did not pose a lethal threat to the
Miami Dade Police officers.

49, At the time the Defendant, EUGENE seized CARRAWAY, the Defendant EUGENE did
not have a warrant to arrest CARRAWAY.

50. The Defendant’s arrest and seizure of CARRAWAY, was illegal and unconstitutional,
and any force used in an illegal seizure is excessive and is part of the claim for illegal seizure. See
Jackson v. Sauls, 206 F.3d 1156, 1171 (11th Cir. 2000).

51. All the force used against CARRAWAY was illegal and excessive, and deprived
CARRAWAY, a United States citizen, of his life without due process of law in violation of the
Fourteenth Amendment of the United States Constitution.

52. | EUGENE, through the actions described above deprived CARRAWAY of his rights,
privileges, and immunities secured by the Fourth Amendment of the Constitution of the United States
including the right to be free from unreasonable seizures and excessive force against his person.

53. Asa direct and proximate foreseeable result of the violations of the Fourth Amendment

and the misconduct of EUGENE, as set forth above, CARRAWAY suffered injuries that caused his
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 10 of 24

death.

54, EUGENE, through the actions described above deprived CARRAWAY of his rights,
privileges, and immunities secured by the Fourteenth Amendment of the Constitution of the United
States including the right to liberty, the right to substantive and procedural due process, the right to be
free from unlawful detention and imprisonment, the right to be free from unlawful seizure, and those
fundamental rights of due process, liberty, and life, as guaranteed by the Constitution.

55. As a direct and proximate foreseeable result of the violations of the Fourteenth
Amendment and the misconduct of EUGENE, as set forth above, CARRAWAY suffered injuries that
caused his death.

56. As a direct, proximate and foreseeable result of the acts and omissions of Defendant
EUGENE, CARRAWAY was killed and the Plaintiff have in the past and will in the future suffer the

following damages:

i. medical, funeral, and burial expenses that have become a charge of his
Estate and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain
and suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida
law.

iv. loss of net accumulations of the Estate.

WHEREFORE, Plaintiff pray that this Honorable Court grant the following relief on Plaintiff

civil right claim for unreasonable seizure brought pursuant to 42 U.S.C. § 1983 and § 1988:

(a) Judgment for compensatory damages;
(b) Punitive damages;

(c) Judgment for attorney’s fees pursuant to 42 U.S.C. § 1988, together with the costs and
expenses of this civil action;

10
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 11 of 24

(d) A trial by jury on all issues so triable; and

(e) Such other and further relief that this court may deem just, proper and appropriate.

COUNT III —- VIOLATION OF 42 U.S.C. § 1983 AGAINST MIAMI DADE COUNTY

57. Plaintiff re-alleges paragraphs 1 through 20 as if fully set forth herein.

58. This is an action for damages against MIAMI DADE COUNTY for the wrongful death of
CARRAWAY and the deprivation of CARRAWAY’s Fourth and Fourteenth Amendment rights in
violation of 42 USC § 1983.

59. At all times material hereto, the employees, agents and/or officers of MIAMI DADE
COUNTY, including EUGENE, the officer named as a defendant herein, were acting under the color of
state law and pursuant to the policy, custom and/or usage of MIAMI DADE COUNTY.

60. | The Fourth Amendment prohibits unreasonable seizure of people, whereby a person has
been seized within the meaning of the Fourth Amendment if, in view of all the circumstances
surrounding the incident, a reasonable person would have believed that he or she was not free to leave.
Also, the Fourteenth Amendment of the United States Constitution provides protection to citizens from
depravation of life, liberty, or property, without due process of law.

61. The shooting and subsequent killing of a suspect is a seizure under the Fourth
Amendment, and a deprivation of life under the Fourteenth Amendment.

62. Defendant EUGENE seized the decedent, KENTRILL CARRAWAY, when he fired and

hit the decedent twice in his back.

63. At the time of the seizure, Defendant EUGENE did not have a reasonable belief that the

decedent had committed a crime.

11
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 12 of 24

64. At the time of the seizure, KENTRILL CARRAWAY, did not pose a lethal threat to the
Miami Dade Police officers.

65. At the time the Defendant, EUGENE seized CARRAWAY, the Defendant did not have a
warrant to arrest CARRAWAY.

66. The Defendants’ arrest and seizure of CARRAWAY, was illegal and unconstitutional,
and any force used in an illegal seizure is excessive and is part of the claim for illegal seizure. See
Jackson y. Sauls, 206 F.3d 1156, 1171 (11th Cir. 2000).

67. All of the force used against CARRAWAY was illegal and excessive, and deprived
CARRAWAY, a United States citizen, of his life without due process of law in violation of the
Fourteenth Amendment of the United States Constitution.

68. MIAMI DADE COUNTY prior to this incident, by and through its police department,
developed policies and customs exhibiting deliberate indifference to the constitutional rights of their
citizenry that were the moving force behind the violation of CARRAWAY’s rights.

69. MIAMI DADE COUNTY had an unofficial or defacto policy/custom tolerating the use of
excessive force by members of its police department and said policies were so widespread and well
settled within MIAMI DADE COUNTY that it constituted custom and usage with the force of law.

70, MIAMI DADE COUNTY, through its policy, custom or usage, also hired officers who
were substandard and who were not properly trained and disciplined, including EUGENE, who lacked
sufficient training on the proper use of firearms, communications skills, defective tactics skills, and
decision making skills.

71. ~ Prior to May 19, 2016, Defendant EUGENE had a history of misbehavior that was
ignored, in adequately investigated or resulted in inadequate discipline. MIAMI DADE COUNTY and

other agents, servants, and/or employees of MIAMI DADE COUNTY ratified the misconduct of

12
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 13 of 24

EUGENE against CARRAWAY including the use of excessive force by failing to discipline EUGENE,
failing to conduct a thorough shooting investigation, white washing the shooting, and covering up
EUGENE’s misconduct.

72. The failure of MIAMI DADE COUNTY to: properly supervise officers; properly
discipline officers; properly train officers; properly hire and retain officers; and prevent the use of
excessive force constitutes deliberate indifference, willful conduct, and knowing conduct towards the
public in general and specifically CARRAWAY.

73, The employees, agents and officers of the Defendant, MIAMI DADE COUNTY,
including EUGENE, through their above-described actions, deprived CARRAWAY of his rights,
privileges and immunities secured by the Fourth Amendment of the Constitution of the United States,
including the right to be secure in his person against unreasonable seizures, including the use of
excessive force.

74. As a direct and proximate foreseeable result of the Fourth Amendment violations and
misconduct of the employees, agents and officers of MIAMI DADE COUNTY, as set forth herein,
CARRAWAY suffered injuries that caused his death.

75. The employees, agents and officers of MIAMI DADE COUNTY, through the actions
above, deprived CARRAWAY of his rights, privileges, and immunities secured by the Fourteenth
Amendment of the US Constitution, including the right to liberty, the right to substantive and procedural
due process, the right to be free from unlawful seizure, and those fundamental rights of due process,
liberty and life as guaranteed by the Constitution.

76. Asa direct and proximate foreseeable result of the Fourteen Amendment violations and

misconduct of the employees, agents and officers of MIAMI DADE COUNTY, as set forth herein,

CARRAWAY suffered injuries that caused his death.

13
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 14 of 24

77. As a direct and proximate foreseeable result of the abovementioned violations of
CARRAWAY’s constitutional rights in accordance with the policy, custom or usage of MIAMI DADE
COUNTY, CARRAWAY suffered physical injury, pain, suffering and death and the Plaintiff have in the
past and will in the future suffer the following damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. ° loss of net accumulations of the Estate.

WHEREFORE, Plaintiff TERRY CARRAWAY, as Personal Representative of the Estate of
KENTRILL CARRAWAY, deceased, for the benefit of his Estate and his statutory survivors, demands
the following against MIAMI DADE COUNTY, for the constitutional violations, civil rights violations,

and acts and omissions as set forth herein:

(a) Judgment for compensatory damages;
(b) Punitive damages;

(c) Judgment for attorney’s fees pursuant to 42 U.S.C. § 1988, together with the costs and
expenses of this civil action;

(d) A trial by jury on all issues so triable; and

(e) Such other and further relief that this court may deem just, proper and appropriate.

COUNT IV —- WRONGFUL DEATH ACTION PURSUANT TO § 768.16-768.26, FLORIDA
STATUTES, AGAINST PEREZ
(pled in the alternative)
78. Plaintiff re-alleges paragraphs 1 through 20 as if fully set forth herein.

79. This is an action for damages against PEREZ, in his official capacity as the Chief of

Miami Dade Police, for the wrongful death of CARRAWAY.

14
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 15 of 24

80. At all times material herein, Officer EUGENE, was acting within the course and scope of
his employment with Miami Dade Police, and in furtherance its interests.

81. At all times material herein, PEREZ was the Chief of Miami Dade Police and had the
duty to properly hire, supervise, and discipline Miami Dade Police’s officers.

82. As a direct and proximate cause of the negligent and/or intentional misconduct of
EUGENE, as described above, including the use of excessive force, and PEREZ’s failure to properly
train and supervise its officers, including but not limited to prevent that excessive force was used,
CARRAWAY suffered fatal injuries.

83. The Defendant, PEREZ, Miami Dade County’s Chief of Police, is vicariously liable for
the negligent and/or intentional misconduct of EUGENE, his employees, agents, and officers, and for
their unnecessary and excessive use of force.

84. The conduct of Defendant EUGENE, as set forth herein, occurred within the course and
scope of his employment as a law enforcement officer for the Miami Dade Police.

85. As a direct and proximate result of Defendant PEREZ’s actions or inactions,
CARRAWAY died, and PEREZ, in his official capacity as the Chief of Police of Miami Dade County, is

responsible for his death and damages. The Plaintiff has suffered and will suffer in the future:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, Plaintiff demands judgment for damages against PEREZ, in his official capacity

as the Chief of Police of Miami Dade for all damages allowed by law including damages and costs, and

LS
Case 1:17-cv-22929-JLK Document 1 Entered on FLSD Docket 08/02/2017 Page 16 of 24

further demands trial by jury on all issues so triable.
COUNT V - WRONGFUL DEATH ACTION PURSUANT TO § 768.16-768.26, FLORIDA
STATUTES, AGAINST MIAMI DADE COUNTY
(pled in the alternative)

86. Plaintiff re-alleges paragraphs 1 through 20 as if fully set forth herein.

87.  Atall times material hereto, Defendant EUGENE was acting within the course and scope
of his employment with MIAMI DADE COUNTY and in furtherance of its interests.

88. At all times material hereto, the Defendant MIAMI DADE, their agents, servants and/or
employees, including but not limited to EUGENE, owed CARRAWAY the duty to act with due care and
reasonable care in the execution and enforcement of any right, law, or legal obligations. In addition,
MIAMI DADE COUNTY had the duty to properly hire, supervise, and discipline Miami Dade County’s
agents, servants, employees and officers.

89. As a direct and proximate cause of the negligent and/or intentional misconduct of
EUGENE, as described above, including the use of excessive force, and MIAMI DADE COUNTY’s
failure to properly train and supervise its officers, including but not limited to prevent that excessive
force was used, CARRAWAY suffered fatal injuries.

90. The Defendant, MIAMI DADE COUNTY is vicariously liable for the negligent and/or
intentional misconduct of EUGENE, its employees, agents, and officers, and for their unnecessary and
excessive use of force.

91. The conduct of Defendant EUGENE, as set forth herein, occurred within the course and
scope of his employment as a law enforcement officer for the MIAMI DADE COUNTY.

92. Defendant MIAMI DADE COUNTY is responsible for EUGENE’s conduct, in that the

wrongful conduct was in the course and scope of Defendant, EUGENE’s employment with MIAMI

DADE COUNTY.

16
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 17 of 24

93. As a direct and proximate result of the acts and omissions of the Defendant MIAMI
DADE COUNTY, CARRAWAY was killed and the Plaintiff has in the past and will in the future suffer

the following damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, Plaintiff demands judgment for damages against MIAMI DADE COUNTY for
all damages allowed by law including damages and costs, and further demands trial by jury on all issues

so triable.

COUNT VI- WRONGFUL DEATH ACTION PURSUANT TO § 768,.16-768.26, FLORIDA
STATUTES, AGAINST DEFENDANT EUGENE
(pled in the alternative)

94. Plaintiff re-alleges paragraphs | through 20 as if fully set forth herein.

95. This is an action for damages against EUGENE, for the wrongful death of CARRAWAY.

96. At all times material hereto, EUGENE was acting under color of State law, and under
color of his authority as a law enforcement officer.

97. At all times, the Defendant owed CARRAWAY the duty to act with due care or
reasonable care in the execution and enforcement of any right, law, or legal obligations.

98. These general duties of reasonable care and due care owed by EUGENE to

CARRAWAY, include but are not limited to the following specific obligations.
e to refrain from seizing, detaining, or arresting CARRAWAY without first having

probably cause or legal authority to do so;

e torefrain from using excessive and/or unreasonable force against CARRAWAY;

17
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 18 of 24

e torefrain from unreasonably creating the situation where force is used;
e torefrain from abusing his authority granted to him by law;
e to use tactics and force appropriate for a particular circumstance;

e to refrain from violating CARRAWAY’s rights guaranteed by the United States
Constitution, as set forth above and as otherwise protected by law.
99. Defendant, EUGENE, through his acts and omissions, breached each and every one of the
aforementioned duties owed to CARRAWAY.
100. As a direct, proximate and foreseeable result of the acts and omissions of the Defendant
EUGENE, CARRAWAY was killed and the Plaintiff has in the past and will in the future, suffer the

following damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, the Plaintiff demands judgment against the Defendant EUGENE for all damages

allowed by law including damages and costs, and further demands trial by jury on all issues so triable.
COUNT VII - NEGLIGENT HIRING, RETENTION AND/OR SUPERVISION AGAINST
DEFENDANT MIAMI DADE COUNTY

101. Plaintiffs re-allege paragraphs 1 through 20 as if fully set forth herein.

102. Defendant, EUGENE was under the control, direction and supervision of MIAMI DADE
COUNTY.

103. Defendant, MIAMI DADE COUNTY knew or should have known that Defendant

EUGENE had engaged in wrongful conduct in the past and will continue to do so in the future.

104. Upon information and belief, Defendant EUGENE had multiple complaints, infractions,

18
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 19 of 24

and or reports of misconduct filed against him in the past.

105. That as a result of such complaints, infractions, violations, and/or reports of misconduct,
Defendant MIAMI DADE COUNTY knew or should have known that the Defendant police office had a
propensity for violence, misconduct, excessive use of force, and/or violations of civil rights.

106. That Defendant, MIAMI DADE COUNTY at all times material had the ability and
authority to discharge, further supervise, and/or retrain Defendant officer so that they did not pose a risk
to the public and to CARRAWAY.

107. That as a direct result of the Defendant, MIAMI DADE COUNTY’s failure to further
train, supervise, and/or discharge the Defendant officer, it was foreseeable that a member of the public,
in this case CARRAWAY, would be killed.

108. Defendant, MIAMI DADE COUNTY’s lack of supervision and retention of the
Defendant, Eugene, constitutes negligence or gross negligence.

109. Defendant officer repeatedly violated Florida law, Federal law, and the policies and
procedures of Miami Dade Police Department.

110. Defendant, MIAMI DADE COUNTY knew or should have known that the Defendant
officer was violating the law and the Miami Dade County’s Police Department's policies and procedures,
yet did nothing to remedy the situation.

111. Asa direct, proximate and foreseeable result of the acts and omissions of the Defendant,
MIAMI DADE COUNTY, CARRAWAY was killed and the Plaintiff has in the past and will in the
future suffer the following damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

19
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 20 of 24

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, the Plaintiff demands judgment against the Defendant MIAMI DADE COUNTY
for damages in a sum in excess of the minimal jurisdiction limits of this Court, together with costs of

this suit, and any other relief this Court deems proper, and demands a trial by jury on all issues so triable.

COUNT VII - NEGLIGENT HIRING, RETENTION AND/OR SUPERVISION AGAINST
DEFENDANT JUAN J. PEREZ

112. Plaintiff re-alleges paragraphs 1 through 20 as if fully set forth herein,

113. Defendant, EUGENE was under the control, direction and supervision of the Chief of
Police, PEREZ.

114. Defendant, PEREZ knew or should have known that Defendant EUGENE had engaged in
wrongful conduct in the past and will continue to do so in the future.

115. Upon information and belief, Defendant EUGENE had multiple complaints, infractions,
and or reports of misconduct filed against him in the past.

116. That as a result of such complaints, infractions, violations, and/or reports of misconduct,
Defendant PEREZ knew or should have known that the Defendant police office had a propensity for
violence, misconduct, excessive use of force, and/or violations of civil rights.

117. That Defendant, PEREZ at all times material had the ability and authority to discharge,
further supervise, and/or retrain Defendant officer so that they did not pose a risk to the public and to
CARRAWAY.

118. That as a direct result of the Defendant, PEREZ’s failure to further train, supervise, and/or
discharge the Defendant officer, it was foreseeable that a member of the public, in this case
CARRAWAY, would be killed.

119. Defendant officer repeatedly violated Florida law, Federal law, and the policies and

20
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 21 of 24

procedures of Miami Dade Police Department.

120. Defendant, PEREZ knew or should have known that the Defendant officer was violating
the law and the Miami Dade County's Police Department’s policies and procedures, yet did nothing to
remedy the situation.

121. Asa direct, proximate and foreseeable result of the acts and omissions of the Defendant,
PEREZ, CARRAWAY was killed and the Plaintiff has in the past and will in the future suffer the

following damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

ili. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, the Plaintiff demands judgment against the Defendant PEREZ for damages in a
sum in excess of the minimal jurisdiction limits of this Court, together with costs of this suit, and any
other relief this Court deems proper, and demands a trial by jury on all issues so triable.

COUNT IX - CLAIM FOR ASSAULT AND BATTERY AGAINST DEFENDANT MIAMI DADE
COUNTY

122. Plaintiff re-alleges paragraphs 1 through 20 as if fully set forth herein.

123. Defendant EUGENE’s conduct was intentional but was not willful, wanton, or malicious.

124. Defendant’s conduct as alleged herein was committed within the course and scope of his
employment as a police officer with the City of Miami Dade Police Department, and MIAMI DADE
COUNTY.

125. Defendant EUGENE’s conduct constituted offensive and unprivileged touching on

CARRAWAY’s person.

21
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 22 of 24

126. Defendant, MIAMI DADE COUNTY, is responsible for the battery committed by
Defendant EUGENE upon CARRAWAY, in that the civil battery was committed in the course and
scope of Defendant, EUGENE’s employment with MIAMI DADE COUNTY such that respondent
superior applies to this action.

127. Asa direct, proximate and foreseeable result of the acts and omissions of the Defendant,
CARRAWAY was killed and the Plaintiff has in the past and will in the future suffer the following
damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, the Plaintiffs demand judgment against the Defendant for damages in a sum in
excess of the minimal jurisdictional limits of this Court, together with costs of this suit, and any other
relief this court deems proper, and demands a trial by jury on all issues so triable.

COUNT X - CLAIM FOR ASSAULT AND BATTERY AGAINST DEFENDANT PEREZ

128. Plaintiff re-alleges paragraphs | through 20 as if fully set forth herein.

129. Defendant EUGENE’s conduct was intentional but was not willful, wanton, or malicious.

130. Defendant’s conduct as alleged herein was committed within the course and scope of his
employment as a police officer with the Miami Dade Police Department, and under the care and

supervision of PEREZ.

131. Defendant EUGENE’s conduct constituted offensive and unprivileged touching on

CARRAWAY’s person.

2A
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 23 of 24

132. Defendant, PEREZ, in his official capacity as Chief of the Miami Dade Police is
responsible for the battery committed by Defendant EUGENE upon CARRAWAY, in that the civil
battery was committed in the course and scope of Defendant, EUGENE’s employment with the Miami
Dade Police such that respondent superior applies to this action.

133. Asa direct, proximate and foreseeable result of the acts and omissions of the Defendant,

CARRAWAY was killed and the Plaintiff has in the past and will in the future suffer the following
damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, the Plaintiffs demand judgment against the Defendant for damages in a sum in
excess of the minimal jurisdictional limits of this Court, together with costs of this suit, and any other
relief this court deems proper, and demands a trial by jury on all issues so triable.

COUNT XI - CLAIM FOR ASSAULT AND BATTERY AGAINST DEFENDANT EUGENE

134. Plaintiffs re-allege paragraphs 1 through 20 as if fully set forth herein.

135, Defendant EUGENE’s conduct was intentional but was not willful, wanton, or malicious.

136. Defendant EUGENE intentionally touched CARRAWAY in a harmful way without
CARRAWAY’s consent, when he shot CARRAWAY.

137. Defendant EUGENE’s conduct constituted offensive and unprivileged touching on

CARRAWAY’s person.

138. Asa direct, proximate and foreseeable result of the acts and omissions of the Defendant,

23
Case 1:17-cv-22929-JLK Document1 Entered on FLSD Docket 08/02/2017 Page 24 of 24

CARRAWAY was killed and the Plaintiff has in the past and will in the future suffer the following

damages:

i. medical, funeral, and burial expenses that have become a charge of his Estate
and/or that have been paid on behalf of the decedent.

ii. loss of support and services, loss of companionship, and for mental pain and
suffering resulting from the loss of KENTRILL CARRAWAY.

iii. all damages allowable under 42 U.S.C. § 1983, Federal law and Florida law.

iv. loss of net accumulations of the Estate.

WHEREFORE, the Plaintiffs demand judgment against the Defendant for damages in a sum in

excess of the minimal jurisdictional limits of this Court, together with costs of this suit, and any other

relief this court deems proper, and demands a trial by jury on all issues so triable.

DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a trial by jury on all issues so triable.

DEMAND FOR ATTORNEY’S FEES

Plaintiff hereby demand payment of attorney's fees pursuant to 42 U.S.C. § 1983 and 42 U.S.C. §

1988.

DATED this 27" day of July, 2017.

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24
